                           7+856'$<                                        -XGJH3HWHU&0F.LWWULFN
30 SFPDS               6]DQWRY6]DQWRHWDO
                             6FKHGXOLQJ2UGHU+HDULQJ6FKHGXOHGIRUDW30
                                     LQE\&RXUWURRP3RUWODQGRQVQ\0RWLRQVWR&RPSHO'LVFRYHU
                                     WKDWPD\EHILOHG SMN  

                                     3HWHU6]DQWRSOD   XX
                                     %DUEDUD6]DQWR$OH[DQGHUGIW      NICK HENDERSON
                                     %DUEDUD6]DQWR$OH[DQGHUFF       TROY SEXTON
                                     0DULHWWH6]DQWRLQWS
                                     3HWHU6]DQWRFG




(YLGHQWLDU\+HDULQJ          <HV
                                     XX         1R

 Motions to Compel Granted in part and Denied in part, as stated on the record.




2UGHUWREHSUHSDUHGE\     &OHUN V2IILFH    &KDPEHUV       xx   Mr Henderson
2''LVPLVVDO2UGHU
      BBBBBBBBBBB6HWWOHGBBBBBBBBBBB  GD\V

      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBWR3UHSDUH-XGJHPHQWRUGHUBBBBBBBBBBB  GD\V

      BBBBBBBBBBB1RDQVZHUBBBBBBBBBBB  GD\V

2)5&35XOH2UGHU
    BBBBBBBBBB3ODQQLQJ&RQIE\BBBBBBBBBBBBBBB&RQI5HSRUWE\BBBBBBBBBBBBBBB

      BBBBBBBBBB3ODQQLQJ&RQIE\BBBBBBBBBBBBBBB1RUHSRUW

      BBBBBBBBBB'LVFRYHU\FDQSURFHHG

      BBBBBBBBBB1R3ODQQLQJ&RQI,QLWLDOGLVFORVXUHVE\BBBBBBBBBBBBBBB

      BBBBBBBBBB'LVFRYHU\OLPLWHGWRBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

'RFNHW(QWU\


                                                                         5XQ'DWH       
                             Case 16-03114-pcm           Doc 109   Filed 05/18/17
